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                                      UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                      Case No.

                         Plaintiff,

           v.                                           COMPLAINT AND DEMAND FOR
                                                        JURY TRIAL
 ASHLEY GUILLARD,

                         Defendant.


                                            I. INTRODUCTION

         1.        In November 2022, four students at the University of Idaho were murdered at a

home near the campus. The tragedy has garnered attention, and inflicted great sorrow,

throughout the University, the State, and the country. Defendant Ashley Guillard—a purported

internet sleuth—decided to use the community’s pain for her online self-promotion. She has

posted many videos on TikTok falsely stating that Plaintiff Rebecca Scofield (a professor at the

University) participated in the murders because she was romantically involved with one of the

victims. Guillard’s statements are false. Professor Scofield did not participate in the murders, and




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she had never met any of the victims, let alone entered a romantic relationship with them.

Guillard’s videos have been viewed millions of times, amplifying Guillard’s online persona at

the expense of Professor Scofield’s reputation. Professor Scofield now sues Guillard for

defamation.

                                              II. PARTIES

         1.        Plaintiff Rebecca Scofield (“Professor Scofield”) is an individual residing in Idaho.

She is an associate professor and the chair of the history department at the University of Idaho in

Moscow, Idaho.

         2.        Defendant Ashley Guillard (“Guillard”) is an individual residing in Texas. She is a

TikTok personality who purports to solve crimes online.

                                 III. JURISDICTION AND VENUE

         3.        Jurisdiction is proper under 28 U.S.C. § 1332 because there is diversity of

citizenship and the amount in controversy exceeds $75,000.

         4.        Venue is appropriate under 28 U.S.C. § 1391 because Professor Scofield is an Idaho

resident and a substantial part of the events giving rise to the claims occurred in Idaho.

                                   IV. FACTUAL ALLEGATIONS

         5.        In the early morning hours of November 13, 2022, four students at the University

of Idaho were tragically murdered in a home near the campus. It is a tragedy that has gripped the

entire university community, forever affected the students’ families, brought tremendous sorrow

throughout the State of Idaho, and garnered national media attention. To respect the privacy of the

victims and their families, this Complaint refers to the victims by their initials: K.G., M.M., X.K.,

and E.C.

         6.        Professor Scofield was not in Moscow, Idaho, when the murders occurred. She and

her husband were in Portland, Oregon, visiting friends. They stayed in a hotel, checking out in the


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morning on November 13, after the murders occurred. They drove from Portland to Moscow, a

drive of more than five hours, arriving after law enforcement officers had discovered the murders.

         7.        Professor Scofield did not commit or in any way participate in the murders of the

four students.

         8.        Professor Scofield has taught at the University of Idaho since January 2016. She

became the chair of the history department in July 2021.

         9.        None of the four students who were murdered ever took a class from Professor

Scofield. Although the University of Idaho is a relatively small university, she does not recall ever

meeting any one of these students.

         10.       Professor Scofield has also never met Ashley Guillard.

         11.       Ashley Guillard promotes herself on Amazon and TikTok as an Internet sleuth that

solves high-profile unsolved murders by consulting Tarot cards, and performing other readings, to

obtain information about the murders. She has purported to solve the murders of musician Kirshnik

Khari Ball (a.k.a. Takeoff), Shanquella Robinson, Tiffany Valiante, Kevin Samuels, and the

November murders at the University of Idaho.

         12.       TikTok is a social media platform through which persons can post short videos,

typically of no more than 1 or 2 minutes. “TikToks” primarily are recorded by a person using her

own cell phone to record a video, and then posting through the person’s account on the TikTok

platform. Individuals with TikTok accounts can review other people’s TikTok accounts, can post

comments on the various TikToks, and can repost another TikTok user’s posts.

         13.       On or about November 22, 2022, Guillard began posting TikTok videos about the

November murders at the University of Idaho. She asserted that the murderer had some history




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with one or more of the victims, and that the murderer was someone who previously was involved

with one of the victims, “possibly an ex.”

         14.       On information and belief, Guillard has never been to Moscow, Idaho or to any

other location in Idaho, and that she had no basis to make factual statements about any of the events

that have occurred there.

         15.       On or about November 24, 2022, Guillard posted six TikTok videos to her account,

ashleyisinthebookoflife,1 in which she falsely stated that Professor Scofield, the chair of the history

department, was responsible for the four students’ deaths. Two of the TikToks directly and falsely

state that Professor Scofield ordered the execution of the four students. Three of the TikToks either

falsely implied or directly stated that Professor Scofield had been involved in a relationship with

one of the murdered students, K.G.

         16.       Three of the TikToks Guillard posted to her website on November 24, 2022, also

used Professor Scofield’s photo from the University of Idaho website. Upon information and

belief, Guillard did not ever receive permission to use Professor Scofield’s official university

photograph.

         17.       Guillard’s November 24, 2022, TikToks were not based on any facts, or any

information known to Guillard. Her statements that Professor Scofield ordered the murders, and

that Professor Scofield had a relationship with one of the victims, are false.

         18.       On the following day, November 25, 2022, Guillard posted an additional five

TikTok videos falsely alleging that Professor Scofield ordered and planned the murders of the four

students. In three of the videos Guillard falsely stated that Professor Scofield and a student at the



1
 Given the continuing nature of Guillard’s tortious conduct, a hyperlink to Guillard’s TikTok account has been
provided. Professor Scofield prays for relief against all such false statements whether specifically referenced herein
or created after the filing of this Complaint.



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University of Idaho, J.D.,2 together planned the murders of the four students. Professor Scofield

has not met student J.D. and has not ever had him in a class. She has never partnered with him on

anything. She did not partner with him to murder the four University of Idaho students.

         19.       Guillard’s November 25, 2022, TikToks were not based on any facts, or any

information known to Guillard. Her statements that Professor Scofield partnered with another

student to plan or carry out the murders are false.

         20.       On November 28, 2022, Guillard posted six TikTok videos in which she falsely

alleged, either by explicitly stating so or posting text with her videos, that Professor Scofield

participated in, or was otherwise responsible for the murders of the four University of Idaho

students and that she did so because of per prior relationship with K.G. In one video she wrote the

words, “Rebecca Scofield’s thoughts as she ordered the murder of the 4 University of Idaho

students.”

         21.       Guillard’s November 28, 2022, TikToks were not based on any facts, or any

information known to Guillard. Her statements that Professor Scofield ordered or in any way

participated in the murders or that she was involved in a personal relationship with K.G. are false.

         22.       By November 28, 2022, Guillard had been directly informed that her TikTok videos

alleging that Professor Scofield was involved in the murders were false. Nevertheless, she

continued posting her TikTok videos, aware that they were false. In one TikTok video she wrote,

“I don’t care what y’all say . . . [J.D.] & Rebecca Scofield killed [K.G., M.M. E.C. & X.K.] . . .

REBECCA WAS THE ONE TO INITIATE THE PLAN & HIRED [J.D.]”

         23.       On November 29, 2022, Professor Scofield, through counsel, sent Guillard a cease

and desist letter, informing her that her TikTok videos stating that Professor Scofield was involved


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  The Complaint uses the initials J.D. to protect the individual’s privacy and not perpetuate Guillard’s false
statements.



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in the murders or that she had a romantic relationship with K.G. were false and defamatory,

demanding that she take down her defamatory videos, demanding that she cease making such

videos, and demanding that she issue an apology to Professor Scofield.

         24.       Guillard did not stop posting defamatory TikToks falsely stating that Professor

Scofield was involved in the murders or that she had a romantic relationship with K.G.

         25.       On November 29, 2022, and November 30, 2022, Guillard posted additional

TikTok videos falsely stating that Professor Scofield was involved in ordering and directing the

execution of the murders of the four students. She was not.

         26.       Since December 1, 2022, Guillard has continued making false statements in her

TikTok videos falsely asserting Professor Scofield’s involvement in the murder of the four

University of Idaho students and falsely stating that Professor Scofield was involved in ordering

the murders and was present in Moscow, Idaho, to ensure they were carried out. She falsely stated,

inter alia, that: (a) “Rebecca Scofield is going to prison for the murder of the 4 University of Idaho

Students whether you like it or not” (December 1, 2022); (b) “I’m not worried about Rebecca

Scofield suing me because she will be using her resources to fight four murder cases” . . . “She

ordered the execution, the murders of [K.G.], [M.M.], [X.K.] and [E.C.].” (December 1, 2022); (c)

that Professor Scofield’s motive in ordering the murders and finding someone to carry it out was

because she was dating a student (December 4, 2022); (d) Professor Scofield decided to kill the

students because K.G. wanted to take a break in their relationship (December 5, 2022); (e)

Professor Scofield was going to help the person she hired to carry out the murders achieve the

person’s dream of playing on the University of Idaho tennis team. (December 5, 2022); (f) J.D.

killed the four students because “Becca told me to.” (December 6, 2022); and (g) a reporter with




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the Spokesman Review newspaper was “protecting the killer” in the article suggesting the TikToks

were false (December 12, 2022).

         27.       As with Guillard’s prior TikToks falsely stating that Professor Scofield was

involved in or ordered the murders, Guillard’s December TikToks had no basis in fact. They were

false.

         28.       Persons with TikTok accounts can comment on the TikTok posts of others they

follow. Many TikTok users warned Guillard that her statements were false and that she was

defaming Professor Scofield, among others. Guillard did not stop making false and defamatory

TikToks despite being warned of their falsity multiple times by persons commenting on her

TikToks.

         29.       Equally concerning, other TikTok users commented that they believed Guillard’s

false statements that Professor Scofield ordered the murder of K.G., M.M., X.K. and E.C., that

Professor Scofield was romantically involved with K.G., and that they have wondered when

Professor Scofield would be brought to justice.

         30.       On December 8, 2022, Professor Scofield, through counsel sent a second cease and

desist letter, enclosing the first, and again demanding that Guillard take down her defamatory posts

and that Guillard stop making defamatory TikToks.

         31.       Rather than change her conduct, Guillard made a TikTok showing the cease-and-

desist letter (acknowledging she received it) and explaining that if Professor Scofield, through

counsel, believed that Guillard was making false statements, counsel would need to “file actual

legal documents in a federal court…asking me to remove it. A judge will then determine if I need

to remove it.”




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         32.       Also, after receiving the cease-and-desist letter, Guillard on December 18 and 19,

2022, posted more than twenty new TikTok videos falsely stating that Professor Scofield was

involved with K.G. and that Professor Scofield’s motive for the murders was to keep K.G. from

making their relationship public.

         33.       Guillard has continued to publish false statements about Professor Scofield on

TikTok despite having no basis for making the statements and despite being notified numerous

times that her statements are false.

         34.       Professor Scofield has never met Guillard. She does not know her. She does not

know why Guillard picked her to repeatedly falsely accuse of ordering the tragic murders and

being involved with one of the victims. Professor Scofield does know that she has been harmed by

the false TikToks and false statements.

         35.       Guillard’s false TikToks have damaged Professor Scofield’s reputation. They have

caused her significant emotional distress. She fears for her life and for the lives of her family

members. She has incurred costs, including costs to install a security system and security cameras

at her residence. She fears that Guillard’s false statements may motivate someone to cause harm

to her or her family members.

                                                   V.

                             FIRST CLAIM FOR RELIEF
                  (DEFAMATION– FALSE STATEMENTS REGARDING MURDERS)

         36.       Professor Scofield re-alleges and incorporates by reference all prior paragraphs of

this complaint as if set forth in full herein.




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           37.     In her TikTok posts between November 24, 2022, and present3, Guillard made

false and defamatory statements implicating Professor Scofield in the murders of the four

University of Idaho students more than forty times.

           38.     As Guillard’s false statements involve criminal accusations, they are per se

defamatory in nature.

           39.     Guillard knew her statements were false because she had no knowledge about

anything happening in Moscow in and around November 13, 2022. Guillard further knew her

statements were false because they were not based on any facts, because persons commenting on

her posts told her that they were false, and because Professor Scofield twice sent Guillard cease

and desist letters regarding the false and defamatory posts.

           40.     Guillard’s false TikToks defamed Professor Scofield because they were viewed

millions of times and widely reposted by other TikTok users, resulting in Professor Scofield’s

name being linked to “murder” in a basic internet search. As a result of Guillard’s false statements,

Professor Scofield’s reputation was injured, and she was subject to online ridicule and threats from

Guillard’s online commenters. She also fears that she or her family will be the target of physical

violence.

           41.     The online nature of Guillard’s false statements continues to harm and damage

Professor Scofield. Guillard’s TikTok account has more than 100,000 followers, and some of her

TikToks defaming Professor Scofield have 2.5 million “likes”, indicating that the person has

viewed the video and “liked” it.

           42.     Professor Scofield has been damaged by Guillard’s false statements. Her reputation

has been tarnished, and she has suffered extreme emotional distress from the constant public



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    fn.1, supa.



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attention and the ongoing online conversation regarding her “role” in the murders, as falsely

alleged by Guillard.

                        SECOND CLAIM FOR RELIEF
         (DEFAMATION –FALSE STATEMENTS REGARDING RELATIONSHIP)

         43.       Professor Scofield re-alleges and incorporates by reference all prior paragraphs of

this complaint as if set forth in full herein.

         44.       In her TikTok posts between November 24, 2022, and the date of this Complaint,

Guillard made false and defamatory statements that Professor Scofield was or had been

romantically involved with one of the murdered students, K.G.

         45.       As Guillard’s statements involve moral turpitude, a professor being involved with

a student, they are per se defamatory in nature.

         46.       Guillard knew her statements were false because she had no knowledge about

anything happening in Moscow, Idaho, or at the University of Idaho. She does not know Professor

Scofield, and did not know K.G. Guillard further knew her statements were false because they

were not based on any facts, because persons commenting on her posts told her that they were

false, and because Professor Scofield twice sent Guillard cease and desist letters regarding the false

and defamatory posts but Guillard continued thereafter to post additional TikTok videos with false

statements.

         47.       Guillard’s false TikToks defamed Professor Scofield because they were viewed

millions of times and widely reposted by other TikTok users. Guillard’s false statements defamed

Professor Scofield’s professional reputation and career at the University of Idaho as university

policy prohibits faculty members from having romantic relationships with university students. As

a result of Guillard’s false statements, Professor Scofield’s reputation was injured, and she was

subject to online ridicule and threats from Guillard’s online commenters.



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         48.       Professor Scofield has been damaged by Guillard’s false statements. Her reputation

has been tarnished, and she has suffered extreme emotional distress from the constant public

attention and the ongoing online conversation discussing the false relationship with a student, as

falsely alleged by Guillard.

                                       VI. ATTORNEY’S FEES

         49.       As a result of Guillard’s conduct, Professor Scofield has been required to retain the

services of Stoel Rives LLP. Plaintiff requests that she be reimbursed for all reasonable attorney’s

fees and costs as permitted under federal and state law.

                                     VII. PRAYER FOR RELIEF

         Professor Scofield prays for judgment in her favor and against Guillard, as well as:

         1.        Compensatory and punitive damages in an amount to be proved at trial;

         2.        Attorney’s fees, costs, and disbursements incurred here;

         3.        Pre-judgment and post-judgment interest; and

         4.        All such other relief as the Court deems just and equitable.

                                 VIII. DEMAND FOR JURY TRIAL

         Professor Scofield requests trial by jury of not less than 12 persons as to all issues triable

to a jury.




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           DATED: December 21, 2022.

                                           STOEL RIVES LLP



                                           /s/ Wendy J. Olson
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                                           Attorneys for Plaintiff




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